Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 1 of 26




                 EXHIBIT “A”
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 2 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 3 of 26
                                                                                                                                     E-FILED IN OFFICE - RJ
                      Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 4 of 26                                              CLERK OF STATE COURT
                                                                                                                               GWINNETT COUNTY, GEORGIA
                             General Civil and Domestic Relations Case Filing Information Form                                              22-C-04829-S4
                                                                                                                                        8/25/2022 1:49 PM
                                                                                                                                   TIANA P. GARNER, CLERK
                                  ☐ Superior or ☐ State Court of ______________________________
                                                                  Gwinnett State Court          County

        For Clerk Use Only
                                                                                                 22-C-04829-S4
        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
__________________________________________________
Jackson, Jamal                                                                 __________________________________________________
                                                                               Rayonier Advanced Materials, Inc.
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
                                                                               Damco Distribution Services, Inc. dba Hudd Transportation
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix     Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix     Prefix

Plaintiff’s Attorney ________________________________________
                      David S Eichholz                        State Bar Number __________________
                                                                               502134             Self-Represented ☐

                          Check one case type and one sub-type in the same box (if a sub-type applies):

        General Civil Cases
                                                                                        Domestic Relations Cases
        ☐           Automobile Tort
        ☐           Civil Appeal                                                        ☐            Adoption
        ☐           Contempt/Modification/Other                                         ☐            Contempt
                    Post-Judgment                                                                    ☐ Non-payment of child support,
        ☐           Contract                                                                         medical support, or alimony
        ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
        ☐           General Tort                                                                     Maintenance/Alimony
        ☐           Habeas Corpus                                                       ☐            Family Violence Petition
        ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
        ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
        ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
        ☐           Product Liability Tort                                              ☐            Support – IV-D
        ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
        ☐           Restraining Petition                                                ☐            Other Domestic Relations
        ☐           Other General Civil

☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA § 9-11-7.1.

☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

         ________________________________ Language(s) Required

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                            Version 1.1.20
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 5 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 6 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 7 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 8 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 9 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 10 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 11 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 12 of 26
Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 13 of 26
                                                                                             E-FILED IN OFFICE - GH
       Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 14 of 26                     CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-04829-S4
                                                                                            10/6/2022 10:52 AM
                                                                                           TIANA P. GARNER, CLERK



                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

 JAMAL JACKSON,

        Plaintiff,

 v.                                                                    CAFN:

 DAMCO DISTRIBUTION SERVICES,                                     22-C-0-4829-S4
 INC. d/b/a HUDD TRANSPORTATION
 and RAYONIER ADVANCED
 MATERIALS INC.,
       Defendants.


      DEFENDANT RAYONIER ADVANCED MATERIALS INC.’S ANSWER TO
                      PLAINTIFF’S COMPLAINT


       COME NOW, RAYONIER ADVANCED MATERIALS INC., named Defendant in

Plaintiff’s Complaint, and answers and responds to Plaintiff’s Complaint as follows:

                                       FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

       Plaintiff is barred from recovery as a result of his contributory negligence.

                                       THIRD DEFENSE

       Plaintiff was negligent, and if Defendant was negligent, which Defendant denies, any

award of damages should be reduced as a result of Plaintiff’s comparative negligence.

                                     FOURTH DEFENSE

       To the extent that Plaintiff's Complaint sets out a cognizable claim for relief against the

answering Defendant, recovery is barred by the existence of intervening acts that were not

reasonably foreseeable.
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 15 of 26




                                        FIFTH DEFENSE

       To the extent that Plaintiff's Complaint sets out a cognizable claim for relief against the

answering Defendant, any award of damages must be reduced or disallowed because Plaintiff's

alleged injuries were directly and proximately caused and contributed to, in whole or in part, by

parties other than the answering Defendant.

                                        SIXTH DEFENSE

       To the extent as may be shown by evidence through discovery, Defendant raises all those

affirmative defenses set forth in O.C.G.A. § 9-11-8(c) and O.C.G.A. § 9-11-12(b) and none of

those defense are waived.

                                      SEVENTH DEFENSE

       Venue is improper as to the answering Defendant, and/or both Defendants.

                                       EIGHTH DEFENSE

       Defendant responds to the numbered paragraphs of Plaintiff's Complaint as follows:

                                PARTIES AND JURISDICTION

                                                 1.

       Upon information and belief, Defendant admits that Jamal Jackson resides in the State of

Georgia. Defendant is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations contained in paragraph 1 of Plaintiff’s Complaint as they pertain to

Plaintiff; therefore, said allegations are denied by operation of law.

                                                 2.

       The allegations contained in paragraph 2 of Plaintiff's Complaint are admitted.

                                                 3.

       The allegations contained in paragraph 3 of Plaintiff's Complaint are admitted.




                                                  2
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 16 of 26




                                                 4.

       The allegations contained in paragraph 4 of Plaintiff's Complaint are denied.

                                        BACKGROUND

                                                 5.

       The allegations contained in paragraph 5 of Plaintiff's Complaint are admitted.

                                                 6.

       Defendant admits that Plaintiff was making a left turn. Defendant denies the remaining

allegations contained in paragraph 6 of Plaintiff's Complaint. .

                                                 7.

       The allegations contained in Paragraph 7 of Plaintiff’s Complaint are denied. In further

response, Defendant states the cause of the tractor-trailer overturning was not the load shifting.

                                                 8.

       Defendant admits that on November 3, 2020, Plaintiff was carrying unitized bales of wood

pulp from Defendant’s facility in Jesup, Georgia. Defendant further admits that Plaintiff was

carrying the load at the request of Defendant Damco Distribution Services, Inc. d/b/a Hudd

Transport (“Damco”). Defendant denies the remaining allegations contained in Paragraph 8 of

Plaintiff’s Complaint.

                                                 9.

       The allegations contained in paragraph 9 of Plaintiff's Complaint are denied.

                                                10.

       The allegations contained in paragraph 10 of Plaintiff's Complaint are denied.




                                                 3
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 17 of 26




                                            COUNT 1
                                          NEGLIGENCE

                                               11.

       Defendant incorporates its responses and defenses to Paragraphs 1 through 10 of Plaintiff’s

Complaint as if set forth fully herein.

                                               12.

       The allegations contained in paragraph 12 of Plaintiff's Complaint are denied, and to the

extent paragraph 12 contains any legal conclusions, no response is required.

                                               13.

       The allegations contained in paragraph 13 of Plaintiff's Complaint are denied.

                                         COUNT 2
                                     IMPUTED LIABILITY

                                               14.

       Defendant incorporates its responses and defenses to Paragraphs 1 through 13 of Plaintiff’s

Complaint as if set forth fully herein.

                                               15.

       The allegations contained in paragraph 15 of Plaintiff’s Complaint are denied.

                                               16.

       The allegations contained in paragraph 16 of Plaintiff's Complaint are denied.

                                   COUNT 3
                   NEGLIGENT HIRING, TRAINING & SUPERVISION

                                               17.

       Defendant incorporates its responses and defenses to Paragraphs 1 through 16 of Plaintiff’s

Complaint as if set forth fully herein.




                                                4
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 18 of 26




                                               18.

       The allegations contained in paragraph 18 of Plaintiff's Complaint are denied.

                                               19.

       The allegations contained in paragraph 19 of Plaintiff's Complaint are denied.

                                               20.

       The allegations contained in paragraph 20 of Plaintiff's Complaint are denied.

                                               21.

       The allegations contained in paragraph 21 of Plaintiff's Complaint are denied.

                                             COUNT 4
                                            DAMAGES

                                               22.

       Defendant incorporates its responses and defenses to Paragraphs 1 through 21 of Plaintiff’s

Complaint as if set forth fully herein.

                                               23.

       The allegations contained in paragraph 23 of Plaintiff's Complaint are denied.

                                               24.

       The allegations contained in paragraph 24 of Plaintiff's Complaint are denied.

                                               25.

       The allegations contained in paragraph 25 of Plaintiff's Complaint are denied.

                                               26.

       The allegations contained in paragraph 26 of Plaintiff's Complaint are denied.

                                          TENTH DEFENSE

       Defendant deny all allegations contained in subparagraphs (a) through (c) contained in

Plaintiff’s WHEREFORE clause.



                                                5
       Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 19 of 26




                                     ELEVENTH DEFENSE

       Defendant denies all other allegations contained in Plaintiff’s Complaint which have been

neither admitted nor denied above.

       WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant prays:

       (a)    That the same be dismissed with prejudice;

       (b)    That judgment be entered in favor of Defendant and against Plaintiff;

       (c)    That Defendant be granted a trial by jury of 12 persons as to all proper issues in the

              case;

       (d)    That all costs be borne by Plaintiff; and

       (e)    For such and further relief as this Honorable Court may deem just and proper.


       Respectfully submitted, this 6th day of October, 2022.


                                                    HALL BOOTH SMITH, P.C.

 3528 Darien Highway, Suite 300                     /s/ James B. Durham_______________
 Brunswick, GA 31525                                JAMES B. DURHAM
 T: (912) 554-0093                                  Georgia Bar No. 235526
 F: (912) 554-1973                                  MATTHEW B. BALCER
 Email: jdurham@hallboothsmith.com                  Georgia Bar No. 736877
 Email: mbalcer@hallboothsmith.com                  Counsel for Rayonier Advanced Materials Inc.




                                                6
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 20 of 26




                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

 JAMAL JACKSON,

        Plaintiff,
                                                                   CAFN:
 v.
                                                              22-C-0-4829-S4
 DAMCO DISTRIBUTION SERVICES,
 INC. d/b/a HUDD TRANSPORTATION
 and RAYONIER ADVANCED
 MATERIALS INC.,
       Defendants.

                                  CERTIFICATE OF SERVICE


       I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT            RAYONIER       ADVANCED      MATERIALS        INC.’S    ANSWER         TO

PLAINTIFF’S COMPLAINT via e-mail and by using the Court’s electronic filing system which

will send a notification to the following:

            David S. Eicholz, Esq.                           Dennis B. Keene
       THE EICHOLZ LAW FIRM, P.C.                       BOUHAN FALLIGANT LLP
            319 Eisenhower Drive                          One West Park Avenue
          Savannah, Georgia 31406                          Savannah, GA 31401
         david@thejusticelawyer.com                        dkeene@bouhan.com
            Attorney for Plaintiff

       This 6th day of October, 2022.

                                                 HALL BOOTH SMITH, P.C.

                                                 /s/ James B. Durham_______________
 3528 Darien Highway, Suite 300                  JAMES B. DURHAM
 Brunswick, Georgia 31525                        Georgia Bar No. 235526
 Phone: (912) 554-0093                           Attorney for Rayonier Advanced Materials
 Fax: (912) 554-1973
                                                 Inc.
 jdurham@hallboothsmith.com




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        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 21 of 26                    CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-04829-S4
                                                                                            10/6/2022 12:22 PM
                                                                                           TIANA P. GARNER, CLERK


                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

JAMAL JACKSON                                 )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )      Civil Action No.: 22-C-04829-S4
DAMCO DISTRIBUTION SERVICES,                  )
INC. d/b/a HUDD TRANSPORTATION                )
and RAYONIER ADVANCED                         )
MATERIALS, INC.                               )
                                              )
       Defendants.                            )
                                              )

     ANSWER OF DEFENDANT DAMCO DISTRIBUTION SERVICES, INC, D/B/A
          HUDD TRANSPORTATION TO PLAINTIFF’S COMPLAINT

       COMES        NOW      DAMCO        DISTRIBUTION       SERVICES,     INC.    d/b/a    HUDD

TRANSPORTATION (“DAMCO”) and, by and through its counsel, responds to the allegations

of Plaintiff’s Complaint in order to assert such defenses as follows:

                                        FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

       Any recovery by Plaintiff is barred or must be reduced due to Plaintiff’s own contributory

or comparative negligence.

                                       THIRD DEFENSE

       Plaintiff failed to mitigate any alleged damages by the use of ordinary care and diligence

for which Defendant is not responsible.

                                      FOURTH DEFENSE

       If Plaintiff sustained any injuries or incurred any damages, the same were caused in whole
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 22 of 26




or in part by the acts or omissions of individuals or entities for whose conduct Defendant is not

responsible.

                                        FIFTH DEFENSE

       Defendant is entitled to a set-off of all sums of money received by judgments, settlements

or otherwise by Plaintiff from anyone for the damages allegedly sustained as a result of the incident

described in Plaintiff’s Complaint.

                                        SIXTH DEFENSE

       Venue is improper as to this Defendant.

                                      SEVENTH DEFENSE

       Plaintiff’s claims are barred under applicable workers’ compensation laws.

                                      EIGHTH DEFENSE

       Plaintiff’s claims are barred or limited to the extent the contractual arrangement between

Plaintiff and DAMCO creates such bar or limitation.

                                       NINTH DEFENSE

       Defendant explicitly reserves its right to assert such affirmative defenses as may become

known in the course of discovery and to amend this answer to assert any and all such defenses.

                                       TENTH DEFENSE

   Defendant responds to the individually numbered paragraphs of the Complaint as follows:

       1.      In responses to paragraph 1 of the Complaint, DAMCO is without information

sufficient to admit or deny the allegations and, therefore, denies the same.

       2.      DAMCO admits the allegations contained in paragraph 2 of the Complaint.

       3.      In response to paragraph 3 of the Complaint, DAMCO is without information

sufficient to admit or deny the allegations and, therefore, denies the same.



                                                 2
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 23 of 26




       4.      In response to paragraph 4 of the Complaint, DAMCO admits this Court has subject

matter jurisdiction over the claim but denies the remaining allegations therein.

                                        BACKGROUND

       5.      In response to paragraph 5 of the Complaint, DAMCO admits, upon information

and belief, that on or about November 3, 2020, Plaintiff was driving a semi-tractor and hauling an

intermodal container in Liberty County, Georgia. DAMCO denies the remaining allegations

contained in paragraph 5.

       6.      In response to paragraph 6 of the Complaint, DAMCO is without information

sufficient to admit or deny the allegations and, therefore, denies the same.

       7.      In response to paragraph 7 of the Complaint, DAMCO is without information

sufficient to admit or deny the allegations and, therefore, denies the same.

       8.      In response to paragraph 8 of the Complaint, DAMCO admits Plaintiff was driving

his vehicle under the operating authority of DAMCO on November 3, 2020.

       9.      DAMCO denies the allegations contained in paragraph 9 of the Complaint.

       10.     DAMCO denies the allegations contained in paragraph 10 of the Complaint.

                                           COUNT 1
                                         NEGLIGENCE

       11.     In response to paragraph 11 of the Complaint, DAMCO realleges and incorporates

its responses to paragraphs 1 through 10 above as if fully restated herein.

       12.     DAMCO denies the allegations contained in paragraph 12 of the Complaint.

       13.     DAMCO denies the allegations contained in paragraph 13 of the Complaint.




                                                 3
        Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 24 of 26




                                        COUNT 2
                                    IMPUTED LIABILITY

       14.      In response to paragraph 14 of the Complaint, DAMCO realleges and incorporates

its responses to paragraphs 1 through 13 above as if fully restated herein.

       15.      In response to paragraph 15 of the Complaint, DAMCO admits, upon information

and belief, that on or about November 3, 2020, Plaintiff was driving a semi-tractor and hauling an

intermodal container. DAMCO denies the remaining allegations contained in paragraph 15.

       16.      In response to paragraph 16 of the Complaint, DAMCO admits it has interstate

motor carrier operating authority. DAMCO denies the remaining allegations contained in

paragraph 16.

                                   COUNT 3
                   NEGLIGENT HIRING, TRAINING & SUPERVISION

       17.      In response to paragraph 17 of the Complaint, DAMCO realleges and incorporates

its responses to paragraphs 1 through 16 above as if fully restated herein.

       18.      DAMCO denies the allegations contained in paragraph 18 of the Complaint.

       19.      DAMCO denies the allegations contained in paragraph 19 of the Complaint.

       20.      DAMCO denied the allegations contained in paragraph 20 of the Complaint.

       21.      DAMCO denied the allegations contained in paragraph 21 of the Complaint.

                                            COUNT 4
                                           DAMAGES

       22.      In response to paragraph 22 of the Complaint, DAMCO realleges and incorporates

its responses to paragraphs 1 through 21 above as if fully restated herein.

       23.      DAMCO denies the allegations contained in paragraph 23 of the Complaint.

       24.      DAMCO denies the allegations contained in paragraph 24 of the Complaint.

       25.      DAMCO denies the allegations contained in paragraph 25 of the Complaint.

                                                 4
           Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 25 of 26




          26.    DAMCO denies the allegations contained in paragraph 26 of the Complaint.

          27.    To the extent Plaintiff’s Prayer for Relief requires a response, it, and all its subparts,

   are denied.

          28.    To the extent any allegation is not expressly admitted, the same is deemed denied.

          WHEREFORE, Defendant prays for judgment as follows:

                 a.      That judgment be entered in favor of Defendant DAMCO;

                 b.      That Plaintiff have and recover nothing from Defendant DAMCO;

                 c.      That Plaintiff’s Complaint against Defendant DAMCO be dismissed with

                         prejudice;

                 d.      That all costs of defending this action be taxed against Plaintiff; and

                 e.      For such other relief as this Court may deem just, equitable, and proper.

          Respectfully submitted this 6th day of October 2022.

                                                 BOUHAN FALLIGANT LLP

                                                 /s/ Dennis B. Keene, Esq.
                                                 _______________________________________
                                                 Dennis B. Keene
                                                 Georgia Bar No. 410801
                                                 John D. Harvey
                                                 Georgia Bar No. 335502
                                                 Gary J. McGinty
                                                 Georgia Bar No. 602353

                                                 Attorneys for Defendant Damco Distribution
Post Office Box 2139                             Services, Inc.
Savannah, GA 31402-2139
Telephone: 912-232-7000
Email: dkeene@bouhan.com
       jdharvey@bouhan.com
       gmcginty@bouhan.com




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          Case 1:22-cv-04042-ELR Document 1-1 Filed 10/07/22 Page 26 of 26




                                  CERTIFICATE OF SERVICE

          I hereby certify that I have caused to have served a copy of the foregoing ANSWER OF
   DAMCO DISTRIBUTION SERVICES, INC. upon the following counsel by United States
   Mail, with proper postage prepaid and affixed, and addressed to:
                                      David S. Eichholz, Esq.
                                    The Eichholz Law Firm, P.C.
                                       319 Eisenhower Drive
                                       Savannah, GA 31406

                                         James B. Durham
                                          Matthew Balcer
                                       Hall Booth Smith, P.C.
                                   3528 Darien Highway, Suite 300
                                       Brunswick, GA 31525


          This 6th day of October, 2022.

                                               BOUHAN FALLIGANT LLP

                                               /s/Dennis B. Keene, Esq.
                                               _______________________________________
                                               Dennis B. Keene
                                               Georgia Bar No. 410801
                                               John D. Harvey
                                               Georgia Bar No. 335502
                                               Gary J. McGinty
                                               Georgia Bar No. 602353

                                               Attorneys for Defendant Damco Distribution
                                               Services, Inc.

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